
994 A.2d 453 (2010)
413 Md. 676
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Philip Michael STOFFAN, Respondent.
Misc. Docket AG, No. 75 September Term, 2009.
Court of Appeals of Maryland.
May 10, 2010.

ORDER
Upon consideration of the Joint Petition for Disbarment by Consent filed herein, pursuant to Maryland Rule 16-772, it is this 10th day of May, 2010
ORDERED, by the Court of Appeals of Maryland, that Philip M. Stoffan be, and he is hereby, disbarred by consent from the practice of law in the State of Maryland effective immediately; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Philip M. Stoffan from the register of attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
